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IN THE UNITED STATES BANKRUPTCY COURT

DISTRICT OF DELAWARE a
IN RE: § om CY COURT
W.R. GRACE & CO.-CONN. § CASE NO. 01-01 140PIW
§ (CHAPTER 11)
DEBTOR § HON. PETER J. WALSH
NOTICE OF APPEARANCE

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

PLEASE TAKE NOTICE that pursuant to Bankruptcy Rule 9010, the undersigned firm
appears on behalf of numerous asbestos claimants, by and through their attorneys Glen W. Morgan
of Reaud, Morgan & Quinn, Inc. and J. William Lewis of Environmental Litigation Group, creditors
and parties-in-interest in the above-captioned case, and hereby request that all papers served or

required to be served in this case be given to and served upon the person at the address below:

Keavin D. McDonald
WILSHIRE SCOTT & DYER, P.C.
One Houston Center
1221 McKinney, Suite 4550
Houston, Texas 77010
Phone: 713/651-1221
Fax: 713/651-0020
kmedonald/(@wsd-law.com

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DATED this the / / day of April, 2001.

Respectfully submitted,

WILSHIRE SCOTT & DYER, P.C.

wy Fad

/KEAVIN D. MCDONALD
State Bar No. 13551200
WILSHIRE SCOTT & DYER, P.C.
1221 McKinney, Suite 4550
Houston, Texas 77010
Telephone: 713/651-1221
Facsimile: 713/651-0020

ATTORNEY FOR CREDITORS

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CERTIFICATE OF SERVICE

[hereby certify that a true and correct copy of the foregoing document has been served upon
the following, via U.S. Mail, first-class, postage prepaid, on this the (77% day of April, 2001:

Laura Davis Jones
Pachulski, Stang, Zichl, et al
P.O. Box 8705

Wilmington, DE 19899-8705

Wachtell, Lipton, Rosen & Katz
51 West 52° Street
New York, NY 10019-6150

Kirkland & Ellis
200 East Randolph Drive
Chicago, IL 60601

United States Trustee

601 Walnut Street, Room 950 West
Philadelphia, PA 19106

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KEAVIN D. MCDONALD.

